 

Case 3:17-cv-00739-BRM-LHG Document 21-20 Filed 03/06/17 Page 1 of 16 PagelD: 568

 

 

~~ (Requestors Name)

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%s
CORPORATION SERVICE COMPANY
ACCOUNT NO. : 120000000195
REFERENCE : 414202 4810371
AUTHORIZATION ¢
cost LIMIT : $440.00

ORDER DATE : December 9, 2014

ORDER TIME : 4:01 PM
ORDER NO. : 414202-005
CUSTOMER NO: 4810371

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ARTICLES OF MERGER
AVANTHI, INC.

INTO

AVANTHI, INC.

PLEASE RETURN THE FOLLOWING AS PROOF OF FILING:

CERTIFIED COPY
XX PLAIN STAMPED COPY

CONTACT PERSON: Courtney Williams

EXAMINER’S INITIALS: | Fj

 
 

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FLORIDA DEPARTMENT OF STATE
Division of Corporations

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January 28, 2015

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SEE OR ATION SIGE Coma =

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TALLAHASSEE, FL 32301 RE SU BMIT
Please give original

SUBJECT: AVANTHI, INC. :

Ref. Number: P13000094445 submission date as file date.

Wd 40.45
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We have received your document for AVANTHI, INC.. However, the document
has not been filed and is being returned for the following:

You failed to make the correction(s) requested in our previous letter.

The above listed corporation was administratively dissolved or its certificate of
authority was revoked for failure to file its 2014 corporate annual report/uniform
business report form. To reinstate, the corporation must submit a completed

reinstatement application or a current corporate annual report/uniform business
report form and the appropriate fees.

The total amount due to reinstate is $900.00.

For each corporation, the document must contain the date of adoption of the plan

of merger or share exchange by the shareholders or by the board of directors
when no vote of the shareholders is required.

The articles of merger must contain the provisions of the plan of merger or the
pian of merger must be attached.

The merger should include the manner and basis of converting the shares of
each corporation into shares, obligations, or other securities of the surviving
corporation or any other corporation or, in whole or in part, into cash or other
property and the manner and basis of converting rights to acquire shares of each
corporation into rights to acquire shares, obligations, or other securities of the

surviving or any other corporation or, in whole or in part, into cash or other
property.

If you have any questions concerning the filing of your document, please call
(850) 245-6050.

Irene Albritton
Regulatory Specialist !! Letter Number: 115400001727

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www.sunbiz.org
Division af Carnorations - PO ROX 297 -Tallah assea Elarida 292314
 

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FLORIDA DEPARTMENT OF STATE
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December 10, 2014

SLESSERES Wan COMPANY RESUBMIT

TALLAHASSEE, FL 32301 Please give original

submission date as file date.
SUBJECT: AVANTHI, INC.
Ref. Number: P13000094445

We have received your document for AVANTHI, INC.. However, the document
has not been filed and is being returned for the following:

The above listed corporation was administratively dissolved or its certificate of
authority was revoked for failure to file its 2014 corporate annual report/uniform
business report form. To reinstate, the corporation must submit a completed

reinstatement application or a current corporate annual repori/uniform business
report form and the appropriate fees.

The total amount due to reinstate is $750.00.

For each corporation, the document must contain the date of adoption of the plan

of merger or share exchange by the shareholders or by the board of directors
when no vote of the shareholders is required.

The articles of merger must contain the provisions of the plan of merger or the
plan of merger must be attached.

The merger should inciude the manner and basis of converting the shares of
each corporation into shares, obligations, or other securities of the surviving
corporation or any other corporation or, in whole or in part, into cash or other
property and the manner and basis of converting rights to acquire shares of each
corporation into rights to acquire shares, obligations, or other securities of the

surviving or any other corporation or, in whole or in part, into cash or other
property.

Please return your document, along with a copy of this letter, within 60 days or
your filing will be considered abandoned.

If you have any questions concerning the filing of your document, please call
(850) 245-6050.

Irene Albritton

Regulatory Specialist I! Letter Number: 814400026042
 

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ARTICLES OF MERGER

(Profit Corporations)
The following articles of merger are submitted in accordance with the Florida Business Corporation Act,
pursuant to section 607.1105, Florida Statutes.

First: The name and jurisdiction of the surviving corporation:

 

 

 

 

 

 

Name Jurisdiction Document Number
(if known/ applicable)
Avanthi, Inc. FL P13000094445
Second: The name and jurisdiction of each merging corporation
Name Jurisdiction Document Number
(if known/ applicable)
Avanthi, Inc. PA 3221507 _ ~
Alantra, Inc. PA 3150762 eu S
co gw TL SC,
Vamsy, Inc. PA 3221506 mF = e 7%
met
faa mH
cm Ss
id
Third: The Plan of Merger is attached. ae =

Fourth: The merger shall become effective on the date the Articles of Merger are filed with the Florida
‘Department of State.
OR /

(Enter a specific date. NOTE: An effective date cannot be prior to the date of filing or more
than 90 days after merger file date.)

Fifth: Adoption of Merger by surviving corporation - (COMPLETE ONLY ONE STATEMENT)
The Plan of Merger was adopted by the shareholders of the surviving corporation on

December 9,2014 .
The Plan of Merger was adopted by the board of directors of the surviving corporation on

and shareholder approval was not required.

Sixth: Adoption of Merger by merging corporation(s) (COMPLETE ONLY ONE STATEMENT)
The Plan of Merger was adopted by the shareholders of the merging corporation(s) on December 9, 2014 .

The Plan of Merger was adopted by the board of directors of the merging corporation(s) on
and shareholder approval was not required.

(Attach additional sheets if necessary)
 

 

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Seventh: SIGNATURES FOR EACH CORPORATION

/ Name of Corporation Si re of an Officer or Typed or Printed Name of Individual & Title

   

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Meda LI ft [eh S50 President
ba

Alantra, inc. i i Tapio Pres dei”
Vamsy, Inc. _— a ph “udber fithe, Typasso_ eyes

Avanthi, inc.

Avanthi, Inc.

 

 

 

 

 

 

 

 

 

 

 

 

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PLAN OF MERGER
(Non Subsidiaries)

The following plan of merger is submitted in compliance with section 607.1101, Florida Statutes, and in accordance
with the laws of any other applicable jurisdiction of incorporation.

/ First: The name and jurisdiction of the surviving corporation:
/ Name Jurisdiction (-
Avanthi, Inc. FL

 

 

Second: The name and jurisdiction of each merging corporation:

 

 

 

 

Name Jurisdiction
Avanthi, inc. PA
Alantra, inc. PA
Vamsy, Inc. PA

 

 

 

 

 

 

Third: The terms and conditions of the merger are as follows:
See Agreement and Plan of Merger dated December 9, 2014 attached hereto.

Fourth: The manner and basis of converting the shares of each corporation into shares, obligations, or other
securities of the surviving corporation or any other corporation or, in whole or in part, into cash or other .
Property and the manner and basis of converting rights to acquire shares of each corporation into rights to
acquire shares, obligations, or other securities of the surviving or any other corporation or, in whole or in part,
into cash or other property are as follows:

(Attach additional sheets if necessary)

 
 

 

 

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THE FOLLOWING MAY BE SET FORTH IF APPLICABLE:

Amendments to the articles of incorporation of the surviving corporation are indicated below or attached:

OR ? |

Restated articles are attached:

Other provisions relating to the merger are as follows:

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PLAN OF MERGER
(Merger of subsidiary corporation(s)) i

The following plan of merger is submitted in compliance with section 607.1104, Florida Statutes, and in accordance
_with the laws of any other applicable jurisdiction of incorporation. ‘

‘The name and jurisdiction of the parent corporation owning at least 80 percent of the outstanding shares of each
class of the subsidiary corporation:

Name’ Jurisdiction

 

 

The name and jurisdiction of each subsidiary corporation:

. Name ‘ ‘ ‘ Jurisdiction

 

 

 

 

 

 

 

 

 

 

The manner and basis of converting the shares of the subsidiary or parent into shares, obligations, or other
securities of the parent or any other corporation or, in whole or in part, into cash or other property, and the
manner and basis of converting rights to acquire shares of each corporation into rights to acquire shares,
- obligations, and other securities of the surviving or any other corporation or, in whole or in part, into cash or
‘other property are as follows: : :

(Atiach additional sheets if necessary)

 

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If the merger is between the parent and a subsidiary corporation and the parent is not the surviving corporation,
a provision for the pro rata issuance of shares of the subsidiary to the holders of the shares of the parent
corporation upon surrender of any certificates is as follows:

If applicable, shareholders of the subsidiary corporations, who, except for the applicability of section 607.1104,
Florida Statutes, would be entitled to vote and who dissent from the merger pursuant to section 607.1321, Florida
Statutes, may be entitled, if they comply with the provisions of chapter 607 regarding appraisal rights of dissenting
shareholders, to be paid the fair value of their shares. :

Other provisions relating to the merger are as follows:

 

 

 

 
 

AGREEMENT AND PLAN OF MERGER

This AGREEMENT AND PLAN OF MERGER (this “Plan of Merger”), dated as of
December 9, 2014, is made and executed by and between Avanthi, Inc., a Pennsylvania
corporation (“Avanthi PA”), Alantra, Inc., a Pennsylvania corporation (“Alantra”), Vamsy, Inc.,
a Pennsylvania corporation (“Vamsy”), and Avanthi, Inc., a Florida corporation (“Avanthi FL”,
and after the Effective Time (as defined below), the “Surviving Corporation”).

WITNESSETH:

WHEREAS, (i) Avanthi PA is a corporation duly incorporated and validly existing
under the laws of the Commonwealth of Pennsylvania, (ii) Alantra is a corporation duly
incorporated and validly existing under the laws of the Commonwealth of Pennsylvania, (iii)
Vamsy is a corporation duly incorporated and validly existing under the laws of the
Commonwealth of Pennsylvania and Gv) Avanthi FL is a corporation duly incorporated and
validly existing under the laws of the State of Florida and has not engaged in any business and
has not owned any assets prior to the date of this Plan of Merger;

WHEREAS, all of the shares of capital stock of each of Avanthi PA, Ajantra, Vamsy
and Avanthi FL are collectively owned by The Kalyan C V S Trust, The Vidya S V § Trust and

The Kiran V V S Trust, with each such trust owning 33 1/3% of such shares of capital stock (the
“Shareholders”);

“WHEREAS, in accordance with Section 1921(b) of the Pennsylvania Business
Corporation Law of 1988, as amended, and Section 607.1107(1) of the Florida Business
Corporation Act, as amended (the “FL Act”), Avanthi PA, Alantra, Vamsy and Avanthi FL have

agreed to enter into the Merger (as defined below), and Avanthi FL shall be the surviving entity
of the Merger;

WHEREAS, the Merger will further certain business objectives of the parties, including,
but not limited to, minimizing costs and simplifying the current organizational structure;

WHEREAS, all of the outstanding shares of capital stock of Avanthi PA, Alantra and
Vamsy shall be cancelled in the manner provided in Section 5 of this Plan of Merger;

 

WHEREAS, the board of directors and the shareholders (consisting of the Shareholders)
of each of Avanthi PA, Alantra, Vamsy and Avanthi FL have approved and declared advisable

this Plan of Merger and the merger of Avanthi PA, Alantra and Vamsy with and into Avanthi FL
on the terms and conditions set forth herein; and

: WHEREAS, the Merger is a plan of reorganization being completed pursuant to Section
368(a)(1 XF) of the Internal Revenue Code of 1986, as amended.

NOW, THEREFORE, the parties hereto agree as follows:
Ly Merger. At the Effective Time (as such term is defined in Section 7), (i)

Avanthi PA, Alantra and Vamsy will merge with and into Avanthi FL (the “Merger”),
whereupon the separate existence of each Avanthi PA, Alantra and Vamsy shall cease, and (ii)

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Avanthi FL will be the surviving corporation and shall continue its existence as said corporation,
all in accordance with the provisions of the FL Act. As a result of the Merger, all assets of
Avanthi PA, Alantra and Vamsy, as they exist at the Effective Time, shall pass to and vest in the ©
Surviving Corporation without any conveyance or other transfer. The Surviving Corporation
shall be responsible’ for al] liabilities and obligations of every kind of Avanthi PA, Alantra and
Vamsy as of the Effective Time. At the Effective Time, all of the outstanding shares of capital
stock of Avanthi PA, Alantia and Vamsy shall be cancelled in the manner provided in Section 5.

2. Approval vf Merger. This Plan of Merger has been authorized and approved by
(i) the board of directors and the shareholders (consisting of the Shareholders) of Avanthi PA,
Alantra and Vamsy and (ii) the board of directors and the shareholders (consisting of the
Shareholders) of Avanthi FL, each in accordance with the articles of incorporation and bylaws of
each of Avanthi PA, Alantra and Vamsy and Avanthi FL, respectively, and the laws of the
Commonwealth of Pennsylvania and the State of Florida, as applicable,

3s Articles of Incorporation. At the Effective Time, the articles of incorporation of
Avanthi FL shall be the articles of incorporation of the Surviving Corporation, until thereafter
amended as provided thercin and by applicable law.

4. By-Laws, At the Effective Time, the bylaws of Avanthi FL shall be the bylaws

of the Surviving Corporation, until thereafter amended as provided therein and by applicable
law.

S. Capital Stock of Avanthi PA, Alantra and Vamsy. At the Effective Time, (i)

the shares of capital stock of Avanthi PA, Alantra and Vamsy owned and held by the
Shareholders shal] no longer be outstanding and shall automatically be cancelled and shall cease
to exist, and the SharehoJders shall cease to have any rights with respect thereto, and (ii) such
shares of capital stock shall not be converted into the Tight to receive any shares of capital stock
or other securities in the Surviving Corporation.

6. Capital Stock of ‘Ayanthi FL. At the Effective Time, the shares of capital stock
of Avanthi FL owned and held by the Shareholders immediately prior to the Merger shall
continue to be outstanding and owned and held by the Shareholders following the Merger.

ds Filing; Effective Time. The: parties hereto shall cause the Merger to be
consummated by filing (i) articles/certificate of merger, in the form attached hereto as Exhibit A
(the “PA Articles of Merger”), with the Department of State - Corporation Bureau of the
Commonwealth of Pennsylvania, and (ii) articles of ‘merger, in the form attached hereto as
Exhibit B (the “FL Articles of Merger’), with the Department of State - Division of
Corporations of the State of Florida. The Merger shall be effective as set forth in the PA Articles
of Merger as filed with the Department of State — Corporation Bureau of the Commonwealth of
Pennsylvania and as set forth in the FL Articles of Merger as filed with the Department of State —

Division of Corporations of the State of Florida (the “Effective Time”),

8. Representations and Warranties of Avanthi PA, Alantra and Vamsy. Each of
Avanthi PA, Alantra and Vamsy, each hereby represents and warrants to Avanthi FL as follows:

 

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(a) Binding Effect. This Plan of Merger, and each agreement entered into in
connection herewith (collectively, the “Transaction Documents”) to which each of Avanthi PA,
Alantra and Vamsy is a party, have been duly executed and delivered by Avanthi PA, Alantra
and Vamsy and are valid and binding obligations of Avanthi PA, Alantra and Vamsy,
enforceable against Avanthi PA, Alantra and Vamsy in accordance with their terms, except as
such enforceability may be limited by applicable bankruptcy, insolvency, reorganization,
moratorium, liquidation or similar laws relating to the enforcement of creditors’ rights and
remedies or by other equitable principles of general application. The Transaction Documents
have been duly authorized by all necessary action on the part of Avanthi PA, Alantra and Vamsy.

(b) No Conflicts. The execution and delivery by Avanthi PA, Alantra and
Vamsy of each Transaction Document to which each is 2 party does not, and the consummation
of the Merger and compliance with the terms hereof and thereof will not, conflict with, or result
in any violation of or default (with or without notice or lapse of time, or both) under, or give rise
to a right of termination, cancellation or acceleration of any obligation or to loss of a material
benefit under, or result in the creation of any lien upon any of the properties or assets of Avanthi
PA, Alantra and Vamsy under, any provision of (i) the organizational documents of Avanthi PA,
Alantra and Vamsy, (ii) any contract, lease, license, indenture, note, bond, agreement, permit,
concession, franchise or other instrument (a “Contract”) to which Avanthi PA, Alantra and
Vamsy are a party or (iii) any judgment, order or decree (“Judgment”) or statute, law, ordinance,
rule or regulation (“Law”) applicable to Avanthi PA, Alantra and Vamsy or their respective
properties or assets.

9. Representations and Warranties of Avanthi FL. Avanthi FL hereby represents
and warrants to Avanthi PA, Alantra and Vamsy as follows:

(a) Binding Effect. The Transaction Documents to which Avanthi FL is a
party have been duly executed and delivered by Avanthi FL and are valid and binding
obligations of Avanthi FL, enforceable against Avanthi FL in accordance with their terms,
except as such ‘enforceability may be- limited by applicable bankruptcy, insolvency,
reorganization, moratorium, liquidation or similar laws relating to the enforcement of creditors’
tights and remedies or by Other equitable principles of general application. The Transaction
Documents have been duly authorized by al] necessary action on the part of Avanthi FL.

(0) No Conflicts, The execution and delivery by Avanthi FL of each
Transaction Document to which it is a party does not, and the consummation of the Merger and
compliance with the terms hereof and thereof will not, conflict with, or result in any violation of
or default (with or without notice or lapse of time, or: both) under, or give rise to a right of
termination, cancellation or acceleration of any obligation or to loss of a material benefit under,
or result in the creation of any lien upon any of the properties or assets of Avanthi FL under, any
provision of (i) the organizational documents of Avanthi FL, (ii) any Contract to which Avanthi

FL is a party or (iii) any Judgment or Law applicable to Avanthi FL or its respective properties
or assets. :

10. Termination. This Plan of Merger may be terminated, and the Merger

abandoned, by Avanthi PA, Alantra, Vamsy or Avanthi FL at any time prior to the Effective
Time. _ *

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ll. Governing Law: Forum. This Plan of Merger shall be governed by, and
construed in accordance with, the intemal laws of the State of Florida applicable to contracts |
made and to be performed entirely within the State of Florida (without giving effect to principles
of choice of law or conflict of laws that would require application of the laws of a jurisdiction
other than the State of Florida). Any action between Avanthi PA, Alantra, Vamsy and Avanthi
FL that arises under or in any way relates to this Plan of Merger may be brought only in the state |
or federal courts located in the State of Florida. Each of Avanthi PA, Alantra, Vamsy and
Avanthi FL hereby consents to the exclusive jurisdiction of such courts to decide any and all i
such actions and to such venue. Each of Avanthi PA, Alantra, Vamsy and Avanthi FL i
irrevocably waives and agrees not to assert any defense based on the inconvenience of such
jurisdiction or venue.

12, Tax Treatment. The Merger is a plan of reorganization being completed pursuant
to Section 368(a)(1)(F) of the Internal Revenue Code of 1986, as amended.

13. Counterparts. This Plan of Merger may be executed in one or more
counterparts, all of which shall be considered one and the same agreement and shal] become
effective when one or more counterparts of this Plan of Merger have been signed by each party
and delivered to the other party.

[Signature Page Follows]

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IN WITNESS WHEREOF, the undersigned have duly executed this Agreement and
Plan of Merger as of the day and year first written above.

AVANTHL INC.,
a Pennsylvania corporation

 

VAMSY, INC.,
a Pennsylvania corporation

By: £

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AVANTHI, INC.,
a Florida co n

  

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2016 FLORIDA PROFIT COR
DOCUMENT# P13000094445
Entity Name: AVANTHI, INC.

Current Principal Place of Business:

194 INLET DRIVE
ST AUGUSTINE, FL 32080

TION ANNUAL REPORT

Current Mailing Address:

194 INLET DRIVE
ST AUGUSTINE, FL 32080 US

FEI Number: APPLIED FOR
Name and Address of Current Registered Agent:
CORPORATION SERVICE COMPANY

1201 HAYS STREET
TALLAHASSEE, FL 32301 US

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FILED
Apr 29, 2016
Secretary of State
CC3788028109

Certificate of Status Desired: No

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: ROSEMARIE GAGLIARDINO
Electronic Signature of Registered Agent

Officer/Director Detail :

Title DIRECTOR

Name TABASSO, ANTHONY P

Address 110 TERRY DRIVE
SUITE 200

City-State-Zip: NEWTOWN PA 18940

04/29/2016
Date

| hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shail have the same legal effect as if made under
oath; that / am an officer or director of the corporation or the receiver or trustee empowered to execute this report as required by Chapter 607, Florida Statutes; and that my name appears

above, or on an attachment with all other like empowered.
SIGNATURE: ANTHONY TABASSO
Electronic Signature of Signing Officer/Director Detail

04/29/2016

Date

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